             Case 1:18-cv-02579 Document 1 Filed 11/08/18 Page 1 of 12



                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                                  )
 AMERICAN OVERSIGHT,                              )
 1030 15th Street NW, B255                        )
 Washington, DC 20005                             )
                                                  )
                                       Plaintiff, )
                                                  )
 v.                                               )     Case No. 18-cv-2579
                                                  )
 U.S. DEPARTMENT OF STATE                         )
 2201 C Street NW                                 )
 Washington, DC 20520                             )
                                                  )
                                      Defendant. )
                                                  )

                                         COMPLAINT

       1.      Plaintiff American Oversight brings this action against the U.S. Department of

State under the Freedom of Information Act, 5 U.S.C. § 552 (FOIA), and the Declaratory

Judgment Act, 28 U.S.C. §§ 2201 and 2202, seeking declaratory and injunctive relief to compel

compliance with the requirements of FOIA.

                                JURISDICTION AND VENUE

       2.      This Court has jurisdiction over this action pursuant to 5 U.S.C. § 552(a)(4)(B)

and 28 U.S.C. §§ 1331, 2201, and 2202.

       3.      Venue is proper in this district pursuant to 5 U.S.C. § 552(a)(4)(B) and 28 U.S.C.

§ 1391(e).

       4.      Because Defendant the U.S. Department of State has failed to comply with the

applicable time-limit provisions of FOIA, American Oversight is deemed to have constructively

exhausted its administrative remedies pursuant to 5 U.S.C. § 552(a)(6)(C)(i) and is now entitled




                                                1
              Case 1:18-cv-02579 Document 1 Filed 11/08/18 Page 2 of 12



to judicial action enjoining the agency from continuing to withhold agency records and ordering

the production of agency records improperly withheld.

                                            PARTIES

        5.      Plaintiff American Oversight is a nonpartisan non-profit section 501(c)(3)

organization primarily engaged in disseminating information to the public. American Oversight

is committed to promoting transparency in government, educating the public about government

activities, and ensuring the accountability of government officials. Through research and FOIA

requests, American Oversight uses the information it gathers, and its analysis of it, to educate the

public about the activities and operations of the federal government through reports, published

analyses, press releases, and other media. The organization is incorporated under the laws of the

District of Columbia.

        6.      Defendant the U.S. Department of State (State) is a department of the executive

branch of the U.S. government headquartered in Washington, DC, and an agency of the federal

government within the meaning of 5 U.S.C. § 552(f)(1). State has possession, custody, and

control of the records that American Oversight seeks.

                                   STATEMENT OF FACTS

        7.      American Oversight submitted seven FOIA requests to State seeking to shed light

on the influence of the president’s business interests and those of his family members on State

activities or policies.

                                Embassy Guidance FOIA Request

        8.      On July 2, 2018, American Oversight submitted a FOIA request to State, with

internal tracking number STATE-18-0390, seeking the following records:

             All guidance, directives, instructions and orders provided or
             communicated to any U.S. embassy or consulate concerning 1) the Trump



                                                 2
             Case 1:18-cv-02579 Document 1 Filed 11/08/18 Page 3 of 12



             Organization or affiliated entities OR 2) the Kushner Companies LLC or
             affiliated entities, including, but not limited to, instructions concerning
             how embassies and consulates should respond to media inquiries related
             to the Trump Organization or the Kushner Companies LLC.

       9.       The request sought responsive records from January 20, 2017, to the date the

search was conducted.

       10.      American Oversight requested that State search the following components and

offices for responsive records, as well as any other offices and components that State determined

are likely to contain responsive records:

             (a) the Office of the Secretary, (b) the Office of the Deputy Secretary, (c)
             the Office of the Under Secretary for Public Diplomacy and Public
             Affairs, (d) the Bureau of Public Affairs, (e) the Bureau of Economic and
             Business Affairs, and (e) the Office of the Under Secretary for Political
             Affairs.

       11.      American Oversight also requested that State search State’s database of cables,

State telegrams, and the “Everest” database maintained by the Executive Secretariat.

       12.      State acknowledged receipt of American Oversight’s FOIA request and assigned

the request FOIA tracking number F-2018-04924.

       13.      American Oversight has not received any further communication from State

regarding this FOIA request.

                          First Embassy Communications FOIA Request

       14.      On July 2, 2018, American Oversight submitted a FOIA request to State, with

internal tracking number STATE-18-0391, seeking the following records:

             All records reflecting communications (including emails, email
             attachments, text messages, messages on messaging platforms (such as
             Slack, GChat or Google Hangouts, Lync, Skype, or WhatsApp), telephone
             call logs, calendar invitations/entries, meeting notices, meeting agendas,
             informational material, talking points, any handwritten or electronic notes
             taken during any oral communications, summaries of any oral
             communications, or other materials) concerning 1) the Trump



                                                  3
             Case 1:18-cv-02579 Document 1 Filed 11/08/18 Page 4 of 12



             Organization or affiliated entities OR 2) the Kushner Companies LLC or
             affiliated entities, of [specified State officials.]

       15.      Specifically, American Oversight requested the records of the Ambassador, the

Chief of Mission, and the Deputy Chief of Mission of the U.S. Embassies in the following

nations: India, China, Israel, Mexico, Brazil, Egypt, Indonesia, Saudi Arabia, Ireland,

Azerbaijan, Georgia, Qatar, Canada, Panama, Philippines, Russia, South Korea, Turkey, the

United Arab Emirates, the United Kingdom, and Uruguay.

       16.      The request sought responsive records from January 20, 2017, to the date the

search was conducted.

       17.      State acknowledged receipt of American Oversight’s FOIA request and assigned

the request FOIA tracking number F-2018-04925.

       18.      American Oversight has not received any further communication from State

regarding this FOIA request.

                         Second Embassy Communications FOIA Request

       19.      On August 24, 2018, American Oversight submitted a FOIA request to State, with

internal tracking number STATE-18-0459, seeking the following records:

             All records reflecting communications (including emails, email
             attachments, text messages, messages on messaging platforms (such as
             Slack, GChat or Google Hangouts, Lync, Skype, or WhatsApp), telephone
             call logs, calendar invitations/entries, meeting notices, meeting agendas,
             informational material, talking points, any handwritten or electronic notes
             taken during any oral communications, summaries of any oral
             communications, or other materials) between (1) any representative or
             employee of the Trump Organization or affiliated entities, (2) any
             representative or employee of the Kushner Companies LLC or affiliated
             entities, (3) Jared Kushner, (4) Donald Trump Jr., (5) Eric Trump, (6)
             Allen Weisselberg and [specified State officials.]

       20.      Specifically, American Oversight requested the records of the Ambassador, the

Chief of Mission, or any Counselor for Public Affairs of the U.S. Embassies in the following



                                                 4
             Case 1:18-cv-02579 Document 1 Filed 11/08/18 Page 5 of 12



nations: India, China, Israel, Mexico, Brazil, Egypt, Indonesia, Saudi Arabia, Ireland,

Azerbaijan, Georgia, Qatar, Canada, Philippines, Russia, South Korea, Turkey, the United Arab

Emirates, the United Kingdom, and Uruguay.

       21.      The request sought responsive records from January 20, 2017, to the date the

search was conducted.

       22.      State acknowledged receipt of American Oversight’s FOIA request and assigned

the request FOIA tracking number F-2018-06534.

       23.      American Oversight has not received any further communication from State

regarding this FOIA request.

                     Donald Trump Jr.–India Communications FOIA Request

       24.      On August 24, 2018, American Oversight submitted a FOIA request to State, with

internal tracking number STATE-18-0458, seeking the following records:

             1. All records reflecting communications (including emails, email
                attachments, text messages, messages on messaging platforms (such
                as Slack, GChat or Google Hangouts, Lync, Skype, or WhatsApp),
                telephone call logs, calendar invitations/entries, meeting notices,
                meeting agendas, informational material, talking points, any
                handwritten or electronic notes taken during any oral
                communications, summaries of any oral communications, or other
                materials) between Donald Trump Jr. [and specified State officials.]

             2. All records reflecting communications (including emails, email
                attachments, text messages, messages on messaging platforms (such
                as Slack, GChat or Google Hangouts, Lync, Skype, or WhatsApp),
                telephone call logs, calendar invitations/entries, meeting notices,
                meeting agendas, informational material, talking points, any
                handwritten or electronic notes taken during any oral
                communications, summaries of any oral communications, or other
                materials) concerning Donald Trump Jr.’s February 2018 trip to
                India, including planning for that trip or other potential trips to India,
                of [specified State officials.]




                                                   5
             Case 1:18-cv-02579 Document 1 Filed 11/08/18 Page 6 of 12



       25.     Both portions of sought responsive records from January 20, 2017, to

the date the search was conducted.

       26.     For both portions of the request, American Oversight requested the

records of the following officials:

                A) The Ambassador, the Deputy Chief of Mission, or any other Senior
                   Foreign Service officers of the U.S. Embassy in India;

                B) Political appointees* or career Senior Executive Service (SES) or
                   Senior Foreign Service officers in the Office of the Secretary of
                   State;

                C) Political appointees* or career Senior Executive Service (SES) or
                   Senior Foreign Service officers in the Office of the Deputy
                   Secretary of State; and

                D) Political appointees* or career Senior Executive Service (SES) or
                   Senior Foreign Service officers in the Bureau of Economic and
                   Business Affairs, including the Office of Commercial and
                   Business Affairs.

       27.     American Oversight clarified that “political appointee” should be

understood as any person who is a Presidential Appointee with Senate Confirmation

(PAS), a Presidential Appointee (PA), a non-career SES, any Schedule C employees,

or any persons hired under Temporary Non-Career SES Appointments, Limited Term

SES Appointments, or Temporary Transitional Schedule C Appointments.

       28.     State acknowledged receipt of American Oversight’s FOIA request and

assigned the request FOIA tracking number F-2018-06529.

       29.     American Oversight has not received any further communication from State

regarding this FOIA request.




                                               6
             Case 1:18-cv-02579 Document 1 Filed 11/08/18 Page 7 of 12



                      Panama–White House Communications FOIA Request

       30.      On August 24, 2018, American Oversight submitted a FOIA request to State, with

internal tracking number STATE-18-0460, seeking the following records:

             All records reflecting communications (including emails, email
             attachments, text messages, messages on messaging platforms (such as
             Slack, GChat or Google Hangouts, Lync, Skype, or WhatsApp), telephone
             call logs, calendar invitations/entries, meeting notices, meeting agendas,
             informational material, talking points, any handwritten or electronic notes
             taken during any oral communications, summaries of any oral
             communications, or other materials) concerning the ownership dispute
             regarding the former-Trump Ocean Club International Hotel and Tower in
             Panama City between State and the White House.

       31.      American Oversight requested that State search, at a minimum, the Office of the

Secretary, the Office of the Deputy Secretary, the Office of the Assistant Secretary for Western

Hemisphere Affairs, and the U.S. Embassy in Panama.

       32.      The request sought responsive records from January 1, 2018, to the date the

search was conducted.

       33.      State acknowledged receipt of American Oversight’s FOIA request and assigned

the request FOIA tracking number F-2018-06536.

       34.      American Oversight has not received any further communication from State

regarding this FOIA request.

                  Panama–Trump Organization Communications FOIA Request

       35.      On August 24, 2018, American Oversight submitted a FOIA request to State, with

internal tracking number STATE-18-0461, seeking the following records:

             All records reflecting communications (including emails, email
             attachments, text messages, messages on messaging platforms (such as
             Slack, GChat or Google Hangouts, Lync, Skype, or WhatsApp), telephone
             call logs, calendar invitations/entries, meeting notices, meeting agendas,
             informational material, talking points, any handwritten or electronic notes
             taken during any oral communications, summaries of any oral
             communications, or other materials) concerning the ownership dispute


                                                  7
             Case 1:18-cv-02579 Document 1 Filed 11/08/18 Page 8 of 12



             regarding the former-Trump Ocean Club International Hotel and Tower in
             Panama City between State and any representative of the Trump
             Organization or its affiliated entities including, but not limited to, Donald
             Trump Jr., Eric Trump, Allen Weisselberg, or attorneys from the law firm
             Britton and Iglesias.

       36.      American Oversight requested that State search, at a minimum, the Office of the

Secretary, the Office of the Deputy Secretary, the Office of the Assistant Secretary for Western

Hemisphere Affairs, and the U.S. Embassy in Panama.

       37.      The request sought responsive records from January 1, 2018, to the date the

search was conducted.

       38.      In telephone and email correspondence between September 12, 2018, through

September 17, 2018, State proposed modifying the request to the following:

             All records in State Department custody regarding the ownership dispute
             around the former Trump Ocean Club International Hotel and Tower in
             Panama City. Time frame is January 1, 2018 to the present. Excluded are
             press summaries and releases already in the public domain.

       39.      American Oversight agreed to State’s proposed modification, based on State’s

representation that the modification would capture all records sought in American Oversight’s

original request.

       40.      State then acknowledged receipt of American Oversight’s FOIA request and

assigned the request FOIA tracking number F-2018-06544.

       41.      American Oversight has not received any further communication from State

regarding this FOIA request.

                                   Panama Cables FOIA Request

       42.      On August 24, 2018, American Oversight submitted a FOIA request to State, with

internal tracking number STATE-18-0462, seeking the following records:




                                                  8
             Case 1:18-cv-02579 Document 1 Filed 11/08/18 Page 9 of 12



             All State Department cables concerning the ownership dispute regarding
             the former-Trump Ocean Club International Hotel and Tower in Panama
             City.

       43.     The request sought responsive records from January 1, 2018, to the date the

search was conducted.

       44.     State acknowledged receipt of American Oversight’s FOIA request and assigned

the request FOIA tracking number F-2018-06547.

       45.     American Oversight has not received any further communication from State

regarding this FOIA request.

                               Exhaustion of Administrative Remedies

       46.     As of the date of this Complaint, State has failed to (a) notify American Oversight

of a final determination regarding American Oversight’s FOIA requests, including the scope of

responsive records Defendants intend to produce or withhold and the reasons for any

withholdings; or (b) produce the requested records or demonstrate that the requested records are

lawfully exempt from production.

       47.     Through State’s failure to respond to American Oversight’s FOIA requests within

the time period required by law, American Oversight has constructively exhausted its

administrative remedies and seeks immediate judicial review.

                                          COUNT I
                              Violation of FOIA, 5 U.S.C. § 552
                Failure to Conduct Adequate Searches for Responsive Records

       48.     American Oversight repeats the allegations in the foregoing paragraphs and

incorporates them as though fully set forth herein.

       49.     American Oversight properly requested records within the possession, custody,

and control of State.




                                                 9
             Case 1:18-cv-02579 Document 1 Filed 11/08/18 Page 10 of 12



       50.     State is an agency subject to FOIA and must therefore make reasonable efforts to

search for requested records.

       51.     State has failed to promptly review agency records for the purpose of locating

those records that are responsive to American Oversight’s FOIA requests.

       52.     State’s failure to conduct adequate searches for responsive records violates FOIA.

       53.     Plaintiff American Oversight is therefore entitled to declaratory and injunctive

relief requiring State to promptly make reasonable efforts to search for records responsive to

American Oversight’s FOIA requests.

                                        COUNT II
                             Violation of FOIA, 5 U.S.C. § 552
                        Wrongful Withholding of Non-Exempt Records

       54.     American Oversight repeats the allegations in the foregoing paragraphs and

incorporates them as though fully set forth herein.

       55.     American Oversight properly requested records within the possession, custody,

and control of State.

       56.     State is an agency subject to FOIA and must therefore release in response to a

FOIA request any non-exempt records and provide a lawful reason for withholding any

materials.

       57.     State is wrongfully withholding non-exempt agency records requested by

American Oversight by failing to produce records responsive to its FOIA requests.

       58.     State is wrongfully withholding non-exempt agency records requested by

American Oversight by failing to segregate exempt information in otherwise non-exempt records

responsive to American Oversight’s FOIA requests.

       59.     State’s failure to provide all non-exempt responsive records violates FOIA.




                                                10
             Case 1:18-cv-02579 Document 1 Filed 11/08/18 Page 11 of 12



       60.      Plaintiff American Oversight is therefore entitled to declaratory and injunctive

relief requiring State to promptly produce all non-exempt records responsive to its FOIA

requests and provide an index justifying the withholding of any responsive records withheld

under claim of exemption.

                                      REQUESTED RELIEF

WHEREFORE, American Oversight respectfully requests the Court to:

       (1) Order State to conduct a search or searches reasonably calculated to uncover all

             records responsive to American Oversight’s FOIA requests;

       (2) Order State to produce, by such date as the Court deems appropriate, any and all non-

             exempt records responsive to American Oversight’s FOIA requests and an index

             justifying the withholding of any responsive records withheld under claim of

             exemption;

       (3) Enjoin State from continuing to withhold any and all non-exempt records responsive

             to American Oversight’s FOIA requests;

       (4) Award American Oversight attorneys’ fees and other litigation costs reasonably

             incurred in this action, pursuant to 5 U.S.C. § 552(a)(4)(E); and

       (5) Grant American Oversight such other relief as the Court deems just and proper.



Dated: November 8, 2018                             Respectfully submitted,

                                                    /s/ Cerissa Cafasso
                                                    Cerissa Cafasso
                                                    D.C. Bar No. 1011003

                                                    /s/ John E. Bies
                                                    John E. Bies
                                                    D.C. Bar No. 483730




                                                  11
Case 1:18-cv-02579 Document 1 Filed 11/08/18 Page 12 of 12



                             /s/ Katherine M. Anthony
                             Katherine M. Anthony
                             MA Bar No. 685150*
                             Pro hac vice motion to be submitted

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                             pending.

                             Counsel for Plaintiff




                           12
